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         Exhibit D-13
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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

                                          :
SUSAN BYRNE,                              :
    Plaintiff                             :
                                          :      CIVIL CASE NO.: 3:17-cv-01104-VLB
v.                                        :
                                          :
YALE UNIVERSITY,                          :
     Defendant                            :      DECEMBER 30, 2019
                                          :

                    DEFENDANT’S MOTION IN LIMINE TO PRECLUDE
              EVIDENCE OF THE TITLE IX COMPLAINT THAT POST-DATED THE
                              NEGATIVE TENURE VOTE

          Defendant Yale University (“Yale”) hereby moves in limine to exclude

evidence of the Title IX complaint that the University filed on February 17, 2016

against Professor Roberto Gonzalez Echevarria, which thus post-dated the

Department of Spanish and Portuguese’s February 9, 2016 negative vote on

Plaintiff’s tenure case. Yale similarly seeks to exclude all evidence of the Title IX

proceedings that followed the formal complaint.           Fed. R. Evid. 401, 403, 404.

Finally, Yale moves to preclude evidence of Plaintiff’s interactions with Title IX

office representatives of which no decisionmaker had knowledge. Fed. R. Evid.

401, 403.

     I.      Relevant Background

          Plaintiff, a former Associate Professor at Yale, asserts claims of retaliation,

negligent misrepresentation, and breach of contract in connection with her

department’s negative vote on her tenure case on February 9, 2016.
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   II.     Title IX Complaint Post-Dates All Decisions At Issue

         Plaintiff’s Trial Exhibit List includes numerous proposed exhibits relating to

the Title IX complaint, which charged Professor Gonzalez Echevarria with sexual

misconduct, and the related proceedings, including, for example, the Title IX

factfinder’s report following investigation, the confidential report submitted to the

Provost by the faculty committee empaneled to hold a hearing in the matter, and

various related correspondence.

         All of these documents post-date the decisions that Plaintiff challenges in

this case. Accordingly, Plaintiff does not allege, nor could she, that the Title IX

complaint or any Title IX-related proceedings thereafter constituted her protected

activity. There is simply no relevance to the Title IX complaint and subsequent Title

IX related proceedings, because no material fact in issue is made more or less

probable by virtue of this evidence. Accordingly, all such evidence should be

excluded at trial. Fed. R. Evid. 401.

         Moreover, even if the Title IX complaint and related matters were deemed

marginally relevant, the probative value, if any, is outweighed by the danger of

undue prejudice to Yale if the jury is permitted to hear evidence of the Title IX

complaint against Professor Gonzalez Echevarria, the findings, the results, and

other related evidence. Plaintiff does not assert a claim of sexual harassment in

this case, and thus the jury will not be asked to, and must not, consider whether

sexual harassment occurred. In that context, the jury could readily be confused or

swayed by emotion upon hearing of the sexual misconduct charges against

Professor Gonzalez Echevarria, his defenses to those charges, the Fact-Finder’s




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report (including hearsay summaries of the 25 witnesses interviewed), and the

University’s findings relating to whether sexual misconduct occurred. E.g., Pl’s

Ex. 43 (UWC Panel Report); Pl’s Ex. 46 (UWC Fact-Finder’s Report).

       Moreover, the Provost’s decision on the Title IX complaint (Pl’s Ex. 126)

imposes certain sanctions on the basis of the UWC Panel Report, and there is no

conceivable basis for the jury to hear this evidence, nor any reasonable way for the

jury to sort out the actions taken in response to the findings regarding sexual

misconduct, as compared to the claims of retaliation against Plaintiff that they

must address in this case. Permitting the jury to hear testimony about, and to

review the Title IX related charges, reports, findings, and conclusions would be

unduly prejudicial to Yale, and would invite the jury to substitute the findings of the

Title IX Fact-Finder, UWC Panel, and Provost for their own findings based on the

evidence presented at trial. Accordingly, such evidence should be excluded under

Fed. R. Evid. 401, 403.

       The Title IX related evidence is inadmissible for the additional reason that it

contains extensive opinion, speculation, and unsworn (and hearsay) statements

about events many years past, and in particular the Fact-Finder and the UWC Panel,

which did not conduct a formal legal proceeding in accordance with this Court’s

rules, relied on credibility judgments, as reflected in both the Fact-Finder’s Report

and the UWC Panel Report. See, e.g., Pl’s Exs. 46, 43 (respectively). For such

unreliable evidence to be admitted would be improper because it is irrelevant to

the issues to be decided by the jury and also would be unduly prejudicial to Yale.

Admission of this evidence would also require Yale to conduct a “trial within a trial”




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as it sought to make clear what happened in the Title IX proceedings and how those

proceedings were different in kind and substance than the current claims.

       Indeed, it appears Plaintiff wishes to use the Title IX complaint and

subsequent proceedings as improper character evidence, from which to argue that,

because Professor Gonzalez Echevarria was charged with and was found to have

engaged in certain acts, it is more likely that he also engaged in the retaliatory

conduct that Plaintiff alleges. See, e.g., Pl’s Ex. 85 (stating opinion on “danger of

retaliation”). But this Court’s rules do not permit such character evidence. Fed. R.

Evid. 404; see also Volker v. Cty. of Nassau, 2019 U.S. Dist. LEXIS 196827, *9-10

(E.D.N.Y. Nov. 13, 2019) (propensity evidence is inadmissible).

       Nor is the Title IX related evidence proper in this case to show “motive,

opportunity, intent, preparation, plan, knowledge, identity, absence of mistake, or

lack of accident.” Fed. R. Evid. 404(b)(2). There is nothing in the Title IX related

evidence that is relevant to Professor Gonzalez Echevarria’s motive or intent in

making the challenged tenure decision, nothing that is relevant to whether he had

knowledge of Plaintiff’s protected activity, nor any other basis for admission of this

evidence.   Nor was there even a finding, based on evidence in the Title IX

proceeding, that Professor Gonzalez Echevarria had previously engaged in an act

of illegal retaliation (which would nonetheless be inadmissible as mere propensity

evidence). See Pl’s Exs. 43, 126. Compare Ismail v. Cohen, 899 F.2d 183, 188 (2d

Cir. 1990) (court refused to hold it was an abuse of discretion to admit evidence of

prior bad acts because an element of plaintiff’s §1983 claim was the existence of a

“policy or custom” of unlawful behavior).




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            In any case, even if there were discrete aspects of the Title IX related

evidence that were deemed marginally relevant, such that the Court held it

appropriate to admit one excerpt or isolated page, there still would be no

permissible basis for admitting all of the Title IX evidence, including the complaint

itself, the Fact-Finder’s Report, the UWC Panel Report, findings, the Provost’s

decision, or related testimony or correspondence. Such evidence is not only so

extensive that it could overwhelm the trial on Plaintiff’s claims, but it also includes

much hearsay, opinion, unsworn statements, vague recollections of long past

events, and credibility findings. This evidence is irrelevant and unduly prejudicial,

and has no place in this trial. Fed. R. Evid. 401, 403.

     III.     Pre-Title IX Complaint Involvement with Title IX Office

            It is undisputed that Plaintiff met with members of Yale’s Title IX office on

or about December 1, 2015 and that, at that time, she stated concerns about, inter

alia, certain alleged behaviors of Professor Gonzalez Echevarria. Evidence of this

meeting – including but not limited to notes therefrom (see, e.g., Pl’s Ex. 84

(handwritten notes of December 1 meeting) and related testimony of Stephanie

Spangler1 – should be excluded because there is no evidence that any of the




1   Similarly, any evidence of information provided to the Title IX office by people

other than Plaintiff (e.g., Pl’s Ex. 45) should be excluded as irrelevant to any issue

and also unduly prejudicial to Yale, given the likelihood it would confuse the jury,

arouse its emotions, and cause Yale to defend a “trial within a trial” regarding the

allegations of sexual misconduct against Professor Gonzalez Echevarria.



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alleged retaliators was aware, prior to the challenged tenure vote on February 9,

2016, of Plaintiff’s meeting with the Title IX office, much less aware of what she told

the Title IX office representatives. See, e.g., Nicolia v. GM, LLC, 2019 U.S. Dist.

LEXIS 172217 (W.D.N.Y. Oct. 3, 2019) (for retaliation claim, plaintiff must prove

decisionmaker knew of protected activity).       Accordingly, such evidence is not

relevant to any issue in the case, and its admission would cause undue prejudice

to Yale. Fed. R. Evid. 401, 403.

   IV.     Conclusion

         For all these reasons, Defendant Yale University respectfully moves to

exclude from evidence the Title IX related proceedings, as well as evidence of what

Plaintiff told Title IX representatives, unbeknownst to the alleged retaliators.



                                         DEFENDANT,
                                         YALE UNIVERSITY

                                   By:   /s/ Victoria Woodin Chavey
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                               CERTIFICATION OF SERVICE

                  I hereby certify that on December 30, 2019, a copy of the foregoing

was filed electronically. Notice of this filing will be sent to all parties by operation

of the Court’s electronic filing system. Parties may access this filing through the

Court’s system.



                                                /s/ David C. Salazar-Austin
                                                David C. Salazar-Austin




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